                Case 1:03-cr-05453-JLT Document 487 Filed 12/21/15 Page 1 of 1

1                                  UNITED STATES DISTRICT COURT

2                           FOR THE EASTERN DISTRICT OF CALIFORNIA

3
     UNITED STATES OF AMERICA,                      OLD CASE NO: 1:03-cr-5453-DAD
4                                                   NEW CASE NO: 1:03-cr-5453-LJO
                             Plaintiff,
5                                                   ORDER REASSIGNING CASE
                       v.
6
     MICHAEL C. NOBARI, et al.,
7
                             Defendants.
8

9

10          The above-captioned case recently was reassigned automatically from District Judge Lawrence J.

11 O’Neill to District Judge Dale A. Drozd for all purposes to balance this Court’s caseloads. However, due

12 to the stage of this particular case and to avoid Court resource duplication, the above-captioned action is

13 REASSIGNED from District Judge Dale A. Drozd to District Judge Lawrence J. O’Neill for all

14 purposes. The new case number for this action, which must be used on all documents filed with the

15 court, is:

16                                 1:03-cr-5453-LJO

17 All dates currently set in this reassigned action shall remain effective subject to further order of the

18 court.

19 IT IS SO ORDERED
   Dated: December 18, 2015
20
                                                           /s/ Lawrence J. O’Neill
21                                                         United States District Judge
   IT IS SO ORDERED
22 Dated: December 18, 2015

23                                                         /s/ Dale A. Drozd
                                                           United States District Judge
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